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DIP Forecast
6/11/2023

                                                 Pre-petition       Post-petition       Post-petition       Post-petition       Post-petition       Post-petition       Post-petition       Post-petition       Post-petition       Post-petition Post-emergence Post-emergence Post-emergence
Week Ending                                       6/11/2023           6/18/2023           6/25/2023            7/2/2023            7/9/2023           7/16/2023           7/23/2023           7/30/2023            8/6/2023           8/13/2023         8/20/2023      8/27/2023       9/3/2023        13 -week Total
Net Cash Receipts                            $    3,320,205     $     2,796,342     $     2,758,488     $     2,709,250     $     2,118,356     $     3,129,107     $     2,591,142     $     2,599,057     $     2,638,122     $    2,632,489   $   2,634,311   $   2,643,449   $   2,612,098     $     35,182,415
Methodology Disbursements
Payroll & Benefits                           $    3,557,493     $        31,493     $     4,203,160     $        31,683     $     3,928,649     $        30,054     $     4,148,376     $        33,393     $     4,140,780     $    3,867,199   $      30,665   $      30,665   $   4,088,500     $     28,122,110
Rent                                                926,499             336,695              50,000              50,000             978,846             328,028              50,000              50,000             978,846            328,028          50,000          50,000               -            4,176,942
American Express                                    145,000                   -              30,000                   -                   -             145,000                   -                   -                   -                  -         145,000               -               -              465,000
Software & IT                                        30,968              43,076              52,768             112,546             278,633             278,633             106,462              92,114             204,299            189,951          56,525          31,403          67,792            1,545,169
Facilities & Utilities                              110,882              44,809              54,892             118,036             242,203             242,203              95,185              82,934             254,370            242,119          73,481          40,823          76,735            1,678,672
Insurance                                            82,012              35,385              43,346              89,176             172,153             172,153              67,452              58,726             149,488            140,763          41,887          23,271          44,883            1,120,695
Temp Labor                                           14,688              22,988              28,160              58,800             125,182             125,182              48,556              42,171              77,424             71,038          20,265          11,258          16,959              662,672
Total Methodology Disbursements              $    4,867,543     $       514,445     $     4,462,326     $       460,241     $     5,725,666     $     1,321,253     $     4,516,031     $       359,339     $     5,805,207     $    4,839,098   $     417,822   $     187,419   $   4,294,870     $     37,771,261
Non-Methodology Disbursements
General & Administrative                     $      298,458     $        20,672     $        25,323     $        54,075     $       112,405     $       112,405     $        44,009     $        38,309     $       104,137     $       98,438   $      29,542   $      16,412   $      31,125     $        985,310
Revenue Cycle Management                              7,746              17,120              20,972              45,264              94,537              94,537              37,089              32,302              94,294             89,507          27,047          15,026          29,494              604,937
Professional Services                                97,889              12,001              14,701              39,677             122,793             122,793              47,489              41,214             145,799            139,523          43,228          24,016          26,832              877,955
Marketing                                            13,291               8,865              10,860              23,323              48,599              48,599              19,049              16,587              51,062             48,599          14,775           8,208          15,432              327,249
Other OpEx                                               84                 375                 459               1,253               5,564               5,564               2,064               1,772               2,481              2,189             625             347             653               23,431
Total Non-Methodology Disbursements          $      417,467     $        59,033     $        72,315     $       163,593     $       383,898     $       383,898     $       149,701     $       130,185     $       397,772     $      378,256   $     115,218   $      64,010   $     103,536     $       2,818,882
Operating Cash Flow                          $    (1,964,806) $       2,222,863     $    (1,776,154) $        2,085,417     $    (3,991,208) $        1,423,956 $        (2,074,590) $        2,109,534 $        (3,564,857) $       (2,584,865) $    2,101,270 $     2,392,020 $    (1,786,308)   $      (5,407,728)
Cumulative Operating Cash Flow                    (1,964,806)           258,057          (1,518,096)            567,320          (3,423,888)         (1,999,932)         (4,074,522)         (1,964,988)         (5,529,845)         (8,114,710)     (6,013,440)     (3,621,420)     (5,407,728)          (5,407,728)
Non-Operating Disbursements
Severance                                    $       34,116     $              -    $        34,116     $              -    $        34,116     $              -    $              -    $        34,116     $              -    $    1,000,000   $           -   $           -   $            -    $       1,136,463
Workers Compensation Insurance                            -                    -            500,000                    -                  -                    -                   -                  -                    -                 -               -               -                -              500,000
DIP Entry / Exit Fees                                     -                    -                  -                    -                  -                    -                   -                  -                    -                 -               -               -                -                    -
Interest                                                  -                    -                  -                    -                  -                    -                   -                  -                    -                 -               -               -                -                    -
Total Non-Operating Disbursements            $       34,116     $              -    $       534,116     $              -    $        34,116     $              -    $              -    $        34,116     $              -    $    1,000,000   $           -   $           -   $            -    $       1,636,463
Debtor Counsel                               $    1,015,000     $              -    $              -    $              -    $             -     $              -    $              -    $       780,000     $              -    $    2,145,000   $           -   $           -   $            -    $       3,940,000
Debtor Advisors                                     524,946                    -                   -                   -                  -                    -                   -            432,000                    -         1,502,000               -               -                -            2,458,946
DIP / Sponsor / Secured Creditor Advisors         1,056,279                    -                   -                   -            350,000                    -                   -            175,000                    -           175,000               -               -                -            1,756,279
Other Restructuring Professionals                         -                    -                   -                   -                  -                    -                   -            100,000                    -           400,000               -               -                -              500,000
Other Restructuring Costs
UST                                          $            -     $             -     $             -     $             -     $        71,409     $              -    $              -    $              -    $             -     $      250,000   $           -   $           -   $            -    $         321,409
Filing Fees                                               -              10,000                   -                   -                   -                    -                   -                   -                  -                  -               -               -                -               10,000
Utility Deposit                                     200,000                   -                   -                   -                   -                    -                   -                   -                  -                  -               -               -                -              200,000
Critical Vendor                                           -                   -             750,000             750,000                   -                    -                   -                   -                  -                  -               -               -                -            1,500,000
503 b(9) / Foreign / Shipperman's                         -                   -              50,000              50,000                   -                    -                   -                   -                  -                  -               -               -                -              100,000
Other Restructuring Costs                                 -                   -             525,000             525,000             135,000                    -                   -                   -            135,000          2,562,500               -               -                -            3,882,500
Other Restructuring Costs                    $      200,000     $        10,000     $     1,325,000     $     1,325,000     $       206,409     $              -    $              -    $              -    $       135,000     $    2,812,500   $           -   $           -   $            -    $       6,013,909
Total Restructuring Costs                    $    2,796,225     $        10,000     $     1,325,000     $     1,325,000     $       556,409     $              -    $              -    $     1,487,000     $       135,000     $    7,034,500   $           -   $           -   $            -    $     14,669,133
Total Disbursements                          $    8,115,351     $       583,478     $     6,393,757     $     1,948,834     $     6,700,088     $     1,705,151     $     4,665,732     $     2,010,639     $     6,337,979     $   13,251,854   $     533,040   $     251,429   $   4,398,406     $     56,895,739
Beginning Cash (Bank)                        $     6,831,597 $       2,036,451      $   11,749,314 $          8,114,045     $     8,874,461 $        4,292,729      $   16,216,685 $        14,142,095      $   14,730,513 $         11,030,656 $      411,291   $   2,512,561   $    4,904,581    $       6,831,597
Net Cash Flow                                     (4,795,146)        2,212,863          (3,635,269)             760,417          (4,581,732)         1,423,956          (2,074,590)            588,418          (3,699,857)         (10,619,365)     2,101,270       2,392,020       (1,786,308)         (21,713,324)
Minimum Cash Requirement                                   -                 -                   -                    -                   -                  -                   -                   -                   -                    -              -               -                -                    -
DIP Funding                                                -         7,500,000                   -                    -                   -         10,500,000                   -                   -                   -                    -              -               -                -           18,000,000
Ending Cash (Bank)                           $     2,036,451 $      11,749,314      $    8,114,045 $          8,874,461     $     4,292,729 $       16,216,685      $   14,142,095 $        14,730,513      $   11,030,656 $            411,291 $    2,512,561   $   4,904,581   $    3,118,273    $       3,118,273
Debt Rollforward
Beginning DIP Balance                        $              -   $             -     $     7,500,000     $     7,500,000     $     7,500,000     $    7,500,000      $   18,000,000      $   18,000,000      $   18,000,000      $   18,000,000
Draw (Repayment)                                            -         7,500,000                   -                   -                   -         10,500,000                   -                   -                   -                   -
Ending DIP Balance                            $              - $      7,500,000     $    7,500,000      $    7,500,000      $    7,500,000      $   18,000,000      $   18,000,000      $   18,000,000      $   18,000,000      $   18,000,000
DIP Availability                                             -      10,500,000          10,500,000          10,500,000          10,500,000                   -                   -                   -                   -                   -
DIP Commitment                                $              - $    18,000,000      $   18,000,000      $   18,000,000      $   18,000,000      $   18,000,000      $   18,000,000      $   18,000,000      $   18,000,000      $   18,000,000
Note: Assumes petition date of 6/11 and exit date in the week ending 8/13




DIP Exhibit                                                                                                                                             Page 1 of 1
